
18 N.Y.2d 692 (1966)
In the Matter of Richard T. Coons et al., Individually and as Representatives of the Nassau County Committee of the Conservative Party, Respondents,
v.
William D. Meisser et al., as Commissioners of the Nassau County Board of Elections, and Thomas M. Brennan, Appellant.
Court of Appeals of the State of New York.
Argued September 2, 1966.
Decided September 2, 1966.
John P. Cleary for appellant.
Noel C. Crowley for respondents.
Concur: Chief Judge DESMOND and Judges VAN VOORHIS, SCILEPPI, KEATING, HILL,[*] GORMAN[*] and HUGHES[*].
Order affirmed, without costs. Under the circumstances of this case appellant Brennan was estopped from changing his position. We pass upon no other question. No opinion.
NOTES
[*]  Designated pursuant to section 2 of article VI of the State Constitution in the temporary absence of Judges FULD, BURKE and BERGAN.

